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13   UNITED STATES OF AMERICA
14                            UNITED STATES DISTRICT COURT
15                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
16   UNITED STATES OF AMERICA,                 No. SA CR 19-061-JVS
17              Plaintiff,                     ORDER PERMITTING THE PROSECUTION
                                               TEAM TO RECEIVE THE SEPTEMBER 2019
18                    v.                       CORRESPONDENCE BETWEEN DEFENDANT
                                               AND THE PRIVILEGE REVIEW TEAM
19   MICHAEL JOHN AVENATTI,
20              Defendant.
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23         The Court has read and considered the Ex Parte Application for

24   an Order permitting the Prosecution Team to receive the September

25   2019 correspondence between defendant and the Privilege Review Team,

26   filed by the government in this matter.

27         THEREFORE, FOR GOOD CAUSE SHOWN:

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 1          The Privilege Review Team (“PRT”)1 may provide the Prosecution

 2   Team2 with defendant’s communication to the PRT requesting specific

 3   folders and the letter of explanation the PRT sent defendant, both

 4   referenced in the September 19, 2019, email included in defendant’s

 5   January 12, 2022, filing (CR 902).

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 7          IT IS SO ORDERED.

 8                                                  DENIED
 9
                                           BY ORDER OF THE COURT
10       DATE                                  HONORABLE JAMES V. SELNA
                                               UNITED STATES DISTRICT JUDGE
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13   Denied without prejudice and upon further showing that (a)defendant
14   has made reference to or use of the documents in Docket No. 902 in
15   his reply in the pending interlocutory appeal or in any other filing
16   in the appellate proceeding or (b) attempts to include the documents
17   in the appellate record by way of supplement to the excerpts or
18   record or otherwise in th pending interlocutory appeal.            JVS January
19   24, 2022
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     1 The Privilege Review nTeam includes Assistant United States
     Attorney Patrick Fitzgerald and Special Agent Nshan Tashchyan.
     2 The Prosecution Team includes Assistant United States Attorneys
27
     Brett A. Sagel and Ranee A. Katzenstein and Special Agents Remoun
28   Karlous, James Kim, and Ryan Roberson.
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